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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

             MARCUS SIMS,                             :     CRIMINAL NO.
             Reg. # 60136-019,                        :     1:08-CR-0209-CC-JSA-2
                   Movant,                            :
                                                      :     CIVIL ACTION NO.
                   v.                                 :     1:12-CV-0252-CC-JSA
                                                      :
             UNITED STATES OF AMERICA,                :     MOTION TO VACATE
                 Respondent.                          :     28 U.S.C. § 2255


                             FINAL REPORT AND RECOMMENDATION

                   This matter is before the Court on Defendant Marcus Sims’s (“Defendant” or

             “Petitioner”) Motion to Vacate, Set Aside or Correct His Sentence Pursuant to Title

             28, United States Code, Section 2255 (“Motion”) [Doc. 134], and the Response Brief

             filed by the United States (“Government”) [Doc. 137].1 For the reasons discussed

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                      Prior to serving as a U.S. Magistrate Judge, the undersigned served as an
             Assistant U.S. Attorney (“USAO”) in the same office that prosecuted Movant, from
             approximately 2004 through June 1, 2012. The undersigned served as deputy chief
             of the economic crime section of the USAO for some of that period. The undersigned
             recalls no personal or supervisory involvement over defendant’s case.

                    Although no request for recusal has been made, the undersigned will briefly
             explain why he has not recused sua sponte. Title 18 U.S.C. § 455(b)(3) requires a
             judge who previously served in government to recuse only if the judge actually
             participated in the case. Mangum v. Hargett, 67 F.3d 80, 83 (5th Cir. 1995). In other
             words, “a judge is not subject to mandatory disqualification based on the mere fact
             that another lawyer in his prior government office served as an attorney on the
             matter.” United States v. Champlin, 388 F. Supp. 2d 1177, 1180 (D. Haw. 2005).



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             below, the Court finds that Petitioner’s Motion is meritless. Thus, the Court

             RECOMMENDS that the Motion [Doc. 134] be denied in its entirety.

             I. Background

                   A. Procedural History

                   On May 28, 2008, a federal grand jury sitting in this Court returned a seven-

             count indictment against Petitioner and his co-defendant, Maurice Jenkins, charging

             Petitioner in five of the seven counts as follows: (1) armed robbery in violation of

             18 U.S.C. §§ 2 and 1951 (Count One); (2) using and carrying a firearm during a

             crime of violence, in violation of 18 U.S.C. §§ 2 and 924(c) (Count Two); (3)

             possession of a firearm by a convicted felon on January 17, 2008, in violation of 18

             U.S.C. §§ 2 and 922(g) (Count Three); (4) possession of a stolen firearm, in violation



             Several courts have held that “an Assistant United States Attorney is only disqualified
             from cases on which he or she actually participated.” Id. (citing United States v.
             Ruzzano, 247 F.3d 688, 695 (7th Cir. 2001) (“As applied to judges who were
             formerly AUSAs, § 455(b)(3) requires some level of actual participation in a case to
             trigger disqualification.”); Mangum, 67 F.3d at 83 (same); Kendrick v. Carlson, 995
             F.2d 1440, 1444 (8th Cir. 1993) (same). “[T]he same rule applies to former
             supervisors in the United States Attorney’s office; § 455(b)(3) requires recusal only
             when the supervisor actually participated in a case.” Champlin, 388 F. Supp. 2d at
             1181; United States v. Scholl, 166 F.3d 964, 977 (9th Cir. 1999); United States v. Di
             Pasquale, 864 F.2d 271, 279 (3d Cir. 1988). As the undersigned was uninvolved in
             this case and otherwise perceives no ground for recusal, the Court does not sua sponte
             find that recusal is warranted.

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             of 18 U.S.C. § 922(j) (Count Four); and (5) possession of a firearm by a convicted

             felon on May 9, 2008, in violation of 18 U.S.C. § 922(g) (Count Seven). [Doc. 2].

             On February 19, 2009, Petitioner initially entered a plea of guilty to Count Seven.

             [Docs. 66, 67]. On April 13, 2009, Petitioner pled guilty to Counts Two and Seven.

             [Doc. 75, 76, 87]. However, on August 13, 2009, Petitioner moved to withdraw his

             plea to Count Two [Doc. 86], and on September 16, 2009, the Court granted the

             motion [Doc. 89]. Petitioner proceeded to trial on Counts One, Two, Three, and Four

             on November 16, 2009 [Docs. 98, 119-123], and on November 18, 2009, a jury found

             Petitioner guilty on all four counts [Doc. 102]. On February 18, 2010, this Court

             sentenced Movant to 240 months of imprisonment, consisting of 120 months on each

             of the Counts One, Three, Four and Seven, to run concurrently, and 120 months on

             Count Two, to run consecutively to the other counts. [Docs. 111, 112, 128].

             Petitioner appealed, and on September 30, 2010, the Eleventh Circuit affirmed his

             convictions. [Docs. 113, 132]; United States v. Sims, 398 F. App’x 494 (11th Cir.

             2010). On January 24, 2011, the Supreme Court denied certiorari. [Doc. 133]; Sims

             v. United States, 131 S. Ct. 1057 (2011).




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                   On January 24, 2012, Petitioner filed a timely § 2255 motion, and on March

             9, 2012, the Government filed its response to the motion. [Docs. 134, 137].

                   B. Facts of the Case

                          1. Offense Conduct - January 17, 2008

                   Petitioner and his co-defendant, Maurice Jenkins, a long-time friend from his

             neighborhood, began working together and with others in early 2006 to break into

             cars in mall or business parking lots to steal whatever they could find of value inside

             the vehicles. [Doc. 120 at 8-13]. Petitioner and Jenkins would keep some of the

             stolen items for themselves and would sell some of the stolen items, mainly laptop

             computers, GPS systems, and firearms. [Doc. 120 at 13-17]. This loose-knit group

             of break-in artists called themselves “The Merch Boys,” for all of the “merchandise”

             they stole. [Doc. 120 at 18-19].

                   On January 17, 2008, Jenkins and another member of the group, nicknamed

             “Weazy,” picked up Petitioner in the morning hours to put in “work,” the term the

             group used for their illegal activity. [Doc. 120 at 22-24]. The three men went to the

             Greenbriar Discount Mall in Atlanta, Georgia, in order to steal items. [Id. at 24]. The

             three men had one or two flathead screwdrivers and a hammer, which they used to

             break into cars, and firearms. [Id. at 24-25]. According to Jenkins, the members of

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             the group always had at least one firearm with them whenever they went to break into

             cars so that they could protect themselves if confronted by law enforcement, victims,

             or citizens. [Doc. 120 at 25-28].

                    Jenkins testified that Petitioner had, on a previous occasion, been confronted

             by the owner of a vehicle that he was breaking into, which required Petitioner to

             shoot at the owner in order to flee the scene. [Doc. 120 at 27-30]. On January 17,

             2008, the three men had two firearms with them, one was a 9 millimeter pistol that

             belonged to Jenkins and the other was a Smith and Wesson .40 caliber pistol that

             Petitioner and Jenkins had stolen the night before from a vehicle in a mall parking lot,

             which Petitioner claimed for his own. [Doc. 120 at 31-36, 152-153; Doc. 119 at 25-

             30].

                    Petitioner stashed the two firearms in the map pockets behind the front car

             seats as the three men approached the Greenbrier Discount Mall. [Doc. 120 at 36-

             37]. When they entered the parking lot, they saw a United Parcel Service (“UPS”)

             truck in front of the mall, with the rear loading door of the truck open, exposing the

             parcel boxes in the truck, and decided to steal some of the UPS packages instead of

             breaking into cars. [Doc. 120 at 37-39]. Petitioner and Jenkins pulled up and parked

             their car next to the UPS truck, and the two men exited the car - Jenkins from the

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             driver’s seat and Petitioner from the passenger seat - and began to take the packages.

             [Doc. 120 at 38-39, 184-185]. The two men got two boxes into their vehicle and

             were going back for more when the UPS driver, who had been inside the back of the

             UPS truck, appeared and confronted Petitioner and Jenkins. [Doc. 120 at 37-42; Doc.

             119 at 35-38].

                   When the UPS driver confronted them, a “scuffle” for the boxes and to stop the

             robbery ensued, and Petitioner and Jenkins ran back to their vehicle, which was

             parked next to the UPS truck, and got into the car. [Doc. 119 at 38, 45, 61, Doc. 120

             at 41, 152]. After Petitioner and Jenkins got back into the car, a security guard for

             the Greenbrier Discount Mall saw the scuffle, arrived to assist the UPS driver, and

             attempted to open the door to the vehicle. [Doc. 119 at 38, 59-63]. Jenkins leaned

             back in his seat and retrieved the Smith and Wesson .40 caliber handgun, which

             belonged to Petitioner, from the back of the car, and shot the security guard several

             times.2 [Doc. 120 at 138-41; Doc. 119 at 63-64]. Petitioner and his two cohorts were

             able to get away in their vehicle, but were only able to hold on to one of the UPS




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                     The security guard, Jermaine Carroll, testified that he was shot six times -
             three in the stomach, two in the leg, and one in the back. [Doc. 119 at 64]. Jenkins
             testified that he pulled the trigger eight times. [Doc. 120 at 44-45].

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             boxes in their car, as the other box they had taken fell out of the vehicle as it drove

             away. [Doc. 120 at 45-46, 152].

                          2. Offense Conduct - May 9, 2008

                   On May 9, 2008, at approximately 1 p.m., Petitioner, on his own, broke into

             a vehicle owned by Andrew Yocom, which was located in the parking lot at All

             American Containers in Sharpsburg, Georgia, where Yocum was employed. [Doc.

             120 at 162-165, 179]. Yocom saw Petitioner breaking into his vehicle from his office

             window, and after telling the receptionist to call 911, ran out to the vehicle and

             confronted Petitioner. [Id. at 165-170]. Petitioner was holding Yocom’s handgun,

             a Taurus .38, which Petitioner had taken from inside Yocom’s vehicle. [Doc. 120 at

             165-166]. Petitioner pointed the gun at Yocom, and Yocom and Petitioner then

             began to wrestle for the gun. [Id. at 165-166; 172-173]. The gun fell to the ground,

             but Petitioner recovered it, pointed it at Yocom’s head, and attempted to fire the gun.

             [Id. at 173]. Yocom testified that he could see the gun pointed at his head and hear

             it clicking, which Yocom attributed to the clip not being engaged. [Id. at 173-176].

             Yocom confronted Petitioner again and they begin to wrestle, and the gun fell to the

             ground again, at which point Yocom was able to throw it into nearby bushes and get

             Petitioner in a headlock. [Doc. 120 at 173-177]. At that point, the police arrived at

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             the scene, handcuffed Petitioner, and placed him in the patrol car. [Id. at 178]. In

             addition to the guns, Petitioner had also attempted to steal Yocom’s GPS device and

             wallet, which Yocom discovered when he later moved his vehicle and found that the

             GPS device and wallet were underneath the vehicle. [Id. at 178-179].

                   While Petitioner was seated in the backseat of the police car, Petitioner slipped

             out of the handcuffs and attempted to escape. [Doc. 120 at 183]. However, Petitioner

             was apprehended a short time later. [Id. at 184].

             II. Standard of Review

                   Under § 2255, individuals sentenced by a federal court can attack the sentence

             imposed by claiming one of four different grounds: “(1) that the sentence was

             imposed in violation of the Constitution or laws of the United States; (2) that the

             court was without jurisdiction to impose such sentence; (3) that the sentence was in

             excess of the maximum authorized by law; and (4) that the sentence is otherwise

             subject to collateral attack.” Hill v. United States, 368 U.S. 424, 426-27 (1962); see

             generally United States v. Hayman, 342 U.S. 205 (1952). “To obtain collateral relief

             a prisoner must clear a significantly higher hurdle than would exist on direct appeal.”

             United States v. Frady, 456 U.S. 152, 166 (1982). Movant must establish that the

             facts surrounding his claim present “exceptional circumstances where the need for the

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             remedy afforded by the writ of habeas corpus is apparent.” Bowen v. Johnston, 306

             U.S. 19, 27 (1939).

                   This Court may deny § 2255 relief without an evidentiary hearing if “the

             motion and the files and records of the case conclusively show that the prisoner is

             entitled to no relief.” 28 U.S.C. § 2255; see Long v. United States, 883 F.2d 966, 968

             (11th Cir. 1989). Under § 2255, however, an evidentiary hearing is required when

             the Court cannot determine from the record that the prisoner is entitled to no relief.

             United States v. Marr, 856 F.2d 1471, 1472 (10th Cir. 1988). As discussed below,

             the motion and record of the case conclusively show that Movant is not entitled to

             relief or to an evidentiary hearing.

             III. Discussion

                   Petitioner’s Motion alleges eight grounds for relief under 28 U.S.C. § 2255: (1)

             Ground One alleges that the Government engaged in prosecutorial misconduct by

             calling witness Andrew Yocum at trial, to testify about criminal conduct to which the

             Petitioner had pleaded guilty and therefore was no longer an issue for the jury, see

             Motion [Doc. 134 at 4-5]; (2) Grounds Two and Three allege that the evidence

             adduced at trial was insufficient to support Petitioner’s convictions as to Count One,

             both as to Petitioner’s commission of a robbery (Ground Two) and for aiding and

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             abetting the robbery (Ground Three), because Petitioner argues the evidence only

             established his intent to steal, not commit the more serious crime of robbery, [Id. at

             5-6]; (3) Grounds Four and Five argue that Petitioner’s counsel was ineffective both

             at trial and on appeal, [Id. at 7-9]; (4) Ground Six alleges that the instructions given

             to the jury were “fatally” erroneous in that they “made it easier” for the jury to

             improperly convict Petitioner of robbery when in fact he had no intention to rob and

             rather only intended to steal, [Id. at 9-10]; (5) Ground Seven alleges that the

             prosecutors knowingly suborned perjury from Petitioner’s co-defendant [Id. at 11-

             13]; and (6) Ground Eight alleges that the prosecutors committed misconduct by

             allegedly “vouching” for the credibility of the cooperating co-defendant in closing

             argument, [Id. at 13-15]. Of these claims, only Grounds Two, Three and Six appear

             to have been presented on direct appeal.

                   These claims are meritless and should be dismissed for numerous reasons as

             discussed below.

                   A.     Grounds Two, Three and Six Were Presented To, And Rejected By,
                          The Court of Appeals, And Cannot Be Relitigated Here

                   On direct appeal, Petitioner challenged both the sufficiency of the evidence to

             support his convictions on Counts One and Two, as well as the district court’s denial



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             of his proposed jury instruction as to the distinction between “theft” and “robbery.”

             The Court of Appeals rejected both arguments and affirmed Petitioner’s conviction.

             See United States v. Sims, 398 F. App’x 494 (11th Cir. 2010). First, the Court of

             Appeals found that “ample evidence supports Sims’s convictions,” specifically citing

             evidence that Petitioner’s theft was accomplished with the aid of actual force when

             his co-defendant, Jenkins, shot a security guard. Id. Second, the Court of Appeals

             found that the district court’s jury instruction as to the elements of the robbery

             offense “tracked the language of the statute, conveyed accurately the law, and

             distinguished between the offenses of theft and robbery.” Id. at 495.3 Further, the

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                   The district court instructed the jury as to the elements of robbery under the
             Hobbs Act, 18 U.S.C. 1915(a), as follows:

                  Ladies and gentlemen of the jury, Title 18, United States Code, Section
                  1951(a), makes it a federal crime or offense for anyone to obtain or take
                  the property of another by robbery and in so doing to obstruct, delay or
                  affect commerce or the movement of articles in commerce.

                  The Defendant may be found guilty of that offense only if all of the
                  following facts are proved beyond a reasonable doubt.

                  First, that the Defendant knowingly obtained or took the personal property
                  of another, and from the presence of another, as charged; second, that the
                  Defendant took the property against the victim’s will, by means of actual
                  or threatened force or violence or fear of injury, whether immediately or
                  in the future; and, third, that, as a result of the Defendant's actions,
                  commerce, or an item moving in commerce, was delayed, obstructed or

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             court stated that “[t]he omission of Sims’s proposed language did not impair his

             ability to convey to the jury his defense that he aided and abetted [Jenkins] solely in

             a scheme to steal property.” Id.

                   “Once a matter has been decided adversely to a defendant on direct appeal it

             cannot be re-litigated in a collateral attack under section 2255.” United States v.

             Nyhuis, 211 F.3d 1340, 1343 (11th Cir. 2000). Thus, having litigated the sufficiency

             of the evidence and the accuracy of the jury instructions on direct appeal, Petitioner

             cannot challenge the adverse rulings he received on those subjects under this habeas

             petition. Grounds Two, Three and Six must be denied on this basis alone.

                   Moreover, Petitioner’s arguments fail on the merits. Petitioner is wrong as a

             matter of law to the extent he argues that the Government in this Hobbs Act case was

             required to prove, and the jury was required to find, specific intent to rob. See United

             States v. Gray, 260 F.3d 1267, 1283 (11th Cir. 2001) (“the only mens rea required for

             a Hobbs Act robbery conviction is that the offense be committed knowingly.”);

             United States v. Thomas, 8 F.3d 1552, 1562 (11th Cir. 1993) (finding no plain error

             in jury instruction that did not require proof of specific intent for Hobbs Act robbery,


                  affected in any way or degree.

             [Doc. 121 at 77].

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             and explaining that “[t]he Hobbs Act definition of robbery does not seem to require

             a finding of specific intent whereas at common law robbery required such a finding”).

             In any event, as the Court of Appeals found in this case, the district court’s

             instructions of law were correct and the evidence adduced at trial was sufficient to

             support the jury’s finding as to each of the elements of robbery under the Hobbs Act.

                   B.     Petitioner’s Claims of Prosecutorial Misconduct (Grounds One,
                          Seven and Eight) Are Procedurally Barred And, In Any Event,
                          Meritless

                   Petitioner argues that the prosecutors engaged in misconduct by introducing

             prejudicial “other acts” testimony (Ground One), introducing allegedly false

             testimony by the co-defendant, Jenkins (Ground Seven), and by improperly vouching

             for Jenkins’s credibility (Ground Eight). These claims fail for multiple reasons.

                          1. The Misconduct Claims Are Procedurally Barred

                   The misconduct claims were available to be raised at trial and on appeal, but

             Petitioner did not raise them. Petitioner is therefore prohibited under the procedural

             default doctrine from raising them for the first time now.

                   The procedural default doctrine reflects the “general rule” that “claims not

             raised on direct appeal may not be raised on collateral review.” Massaro v. United

             States, 538 U.S. 500, 504 (2003); Reed v. Fairley, 512 U.S. 339, 354 (1994) (“‘[T]he

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             general rule is that the writ of habeas corpus will not be allowed to do service for an

             appeal.’”). To adequately preserve a claim, a Defendant must raise it both before the

             trial court (whether by motion, objection, or otherwise) and also on direct appeal. See

             Murray v. Carrier, 477 U.S. 478, 490-92 (1986). United States v. Johnson, 988 F.2d

             941, 945 (9th Cir. 1993) (If a defendant “could have raised” the supposed

             constitutional violation previously, he defaults on the opportunity to pursue the claim

             for the first time pursuant to § 2255). The procedural bar applies to claims of

             prosecutorial misconduct, where the claims were available to be raised previously but

             were not. See Lynn v. United States, 365 F.3d 1225, 1234-37 (11th Cir. 2004)

             (dismissing § 2255 allegations of prosecutorial misconduct and other violations on

             grounds of procedural default where claims were based in large part on facts

             previously in the record but were never raised below).

                   In this case, all of the facts that Petitioner cites in support of his three grounds

             of prosecutorial misconduct appear clearly in the trial record. It was apparent at trial

             (a) that the Government was eliciting testimony about Petitioner’s commission of

             another robbery other than the one charged in the case, (b) that the co-defendant,

             Jenkins, testified in a manner allegedly inconsistent with prior statements to law

             enforcement, which alleged inconsistency was raised by Petitioner’s counsel in cross-

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             examination of Jenkins, [Doc. 120 at 88-96], and (c) that Government counsel made

             certain arguments to the jury in support of Jenkins’s credibility [Doc. 121 at 20-21,

             31-35]. These are the same facts Petitioner cites in support of the instant motion. Yet

             Petitioner did not seek this relief at trial and did not assert these claims of error in his

             appeal. Petitioner is procedurally barred from doing so now.

                    An exception to the procedural bar rule is where a petitioner can show “cause

             and actual prejudice.” Lynn, 365 F.3d at 1234 (citing Bousley v. United States, 523

             U.S. 614, 622 (1998)) (“A defendant can avoid a procedural bar only by establishing

             one of the two exceptions to the procedural default rule. Under the first exception,

             a defendant must show cause for not raising the claim of error on direct appeal and

             actual prejudice from the alleged error.”). Alternatively, a petitioner can escape the

             procedural bar rule where he can show that he is actually innocent and that a failure

             to address the unpreserved claims would result in a fundamental miscarriage of

             justice. Lynn, 365 F.3d at 1234-35 (quoting Mills v. United States, 36 F.3d 1052,

             1055 (11th Cir. 1994) (“Under the second exception, a court may allow a defendant

             to proceed with a § 2255 motion despite his failure to show cause for procedural

             default if ‘a constitutional violation has probably resulted in the conviction of one

             who is actually innocent.’”).

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                   These exceptions do not apply. Petitioner does not argue that his unpreserved

             claims should be considered under the actual innocence and fundamental miscarriage

             of justice standard. That narrow exception to the procedural bar rule is also

             unavailable under the facts established in this case. The Eleventh Circuit has stated

             that this standard requires a showing that the alleged errors “probably resulted in the

             conviction of one who is actually innocent.” Mills, 36 F.3d at 1055–56 (citing

             Murray, 477 U.S. at 496). Petitioner cannot make that showing here. Petitioner does

             not dispute that he was part of a scheme to steal from the delivery truck, and several

             eyewitnesses other than just the cooperator (including the delivery driver and the

             security guard who attempted to assist) testified. Petitioner in this Motion does not

             deny the basic facts established at trial but rather asserts an incorrect legal argument

             as to the elements of robbery under the Hobbs Act. This is not a colorable showing

             of actual innocence.

                   As for “cause and actual prejudice,” Petitioner does not allege any cause at all

             for having failed to preserve his claims under Ground One. As for Grounds Seven

             and Eight, Petitioner argues that his failure to preserve those claims resulted from

             ineffective assistance of counsel, which is separately alleged as a ground for relief




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             under claims Four and Five. For the reasons stated in more detail below, Petitioner

             fails to establish any deficient performance by counsel or any actual prejudice from

             counsel’s failure to preserve these arguments. Petitioner’s prosecutorial misconduct

             claims remain procedurally barred and therefore they should be dismissed.

                           2. The Claims Are Meritless And Establish No Prejudice

                                  (a)    Claim One

                    On the merits, Petitioner complains in Ground One as to the admission of

             evidence of other wrongful acts. That reflects an evidentiary determination by the

             district court pursuant to Fed. R. Evid. 404(b). Even if the district court had abused

             its considerable discretion in admitting this evidence, which it did not, this would at

             most be the sort of non-constitutional trial error that does not give rise to § 2255 relief

             absent a fundamental miscarriage of justice. See Reed v. Farley, 512 U.S. 339, 354

             (1994) (in order to obtain relief under § 2255 on the basis of nonconstitutional error,

             the record must reflect a fundamental defect in the proceedings that inherently results

             in a complete miscarriage of justice or an omission inconsistent with the rudimentary

             demands of fair procedure).




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                                 (b)   Claim Seven

                    With respect to Ground Seven, Petitioner complains that the prosecution

             adduced certain testimony from Jenkins that was arguably inconsistent with post-

             arrest statements Jenkins made to law enforcement. Specifically, in his post-arrest

             statements, Jenkins allegedly told the officers that he had previously stolen and

             possessed the firearm used to shoot the delivery truck driver during the January 17

             robbery. At trial, Jenkins testified that he and the Petitioner had stolen the gun

             together during a previous crime, and that the Petitioner had asserted possession of

             the firearm at the time of the January 17 robbery. [Doc. 120 at 32-35]. Petitioner

             does not contend that the prosecutors withheld the allegedly inconsistent prior

             statements in discovery. To the contrary, the record shows that his counsel cross-

             examined Jenkins on these very points at trial. [Id. at 90-93].

                    The Supreme Court has long held that “it is established that a conviction

             obtained through use of false evidence, known to be such by representatives of the

             State, must fall under the Fourteenth Amendment.” Napue v. Illinois, 360 U.S. 264,

             269 (1959). But Petitioner does not sufficiently allege such a violation here, at least

             not to the “cause and actual prejudice” standard necessary to surmount the procedural

             bar.

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                   First, that a witness testifies contrary to prior statements does not itself

             establish perjury. See United States v. Dunnigan, 507 U.S. 87, 95 (1993) (“A witness

             testifying under oath or affirmation [commits perjury] if she gives false testimony

             concerning a material matter with the willful intent to provide false testimony, rather

             than as a result of confusion, mistake or faulty memory.”); Koch v. Puckett, 907 F.2d

             524, 531 (5th Cir. 1990) (holding contradictory testimony does not prove perjury);

             United States v. Battle, 264 F. Supp. 2d 1088, 1208-09 (N.D. Ga. 2003) (the fact that

             a witness’s previous testimony is inconsistent with later testimony does not establish

             perjury or that the prosecutor made knowing use of false testimony).

             Witnesses–particularly cooperating defendants in criminal cases–sometimes testify

             in ways that could be seen as contrary to prior statements. This could reflect changes

             in recollection, an offer of additional detail, a difference in the questions asked, or

             any number of other things, including, of course, perjury. But a mere arguable

             contradiction does not itself suggest perjury, much less the Government’s knowledge

             of perjury.

                   Thus, federal courts generally reject Napue claims based on nothing more than

             a contradiction between a witness’s testimony and prior out-of-court statements, at

             least where (as here) those statements were disclosed to the defense and available for

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             impeachment use at trial. The courts “cannot presume that the prosecutor knew that

             the prior [inconsistent] statement was true” but elicited perjured testimony anyway.

             United States v. Baker, 850 F.2d 1365, 1371 (9th Cir. 1988); United States v.

             Williams, 547 F.3d 1187, 1202 n.13 (9th Cir. 2008) (“Although there were

             inconsistencies in Penate’s testimony, there was no evidence that the government

             knowingly presented false testimony. . . . The inconsistencies in Penate’s testimony

             were argued to the jury.”). Here, all Petitioner points to as proof of perjury are

             Jenkins’s prior allegedly inconsistent statements.4 But these statements do not mean

             that Jenkins’s trial testimony was false or that the prosecution team knew it to be

             false.

                      Second, all of the facts that Petitioner cites to support his allegation that

             Jenkins lied were apparently disclosed to Petitioner and used in cross-examination


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                      For the purposes of adjudication of this Motion, the Court assumes that
             Jenkins’s trial testimony contradicted his prior statements. At least in some respects,
             however, the record is ambiguous on this point. Jenkins originally stated to the police
             that he stole the gun that was later used to shoot the delivery truck driver. He then
             testified at trial that he and the Petitioner, acting together, stole the gun. At least in
             this respect, the testimony reflects the additional of a material detail, rather than an
             outright, express contradiction. The jury was entitled to find, and may have found,
             the additional detail as to Petitioner’s involvement to be incredible, and fabricated,
             because it was not stated originally. But Jenkins at trial denied any contradiction and
             the jury was not required to find it to be one.

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             of Jenkins at trial. Courts have found that a petitioner’s knowledge of perjury during

             trial combined with the ability to present the facts establishing perjury to the jury

             generally defeats a later § 2255 claim. See, e.g., United States v. Biberfeld, 957 F.2d

             98, 104 (3d Cir. 1992); Brown v. United States, 556 F.2d 224, 227 (3d Cir. 1977).

             This proposition may not always apply but at least on the facts here it must. To the

             extent Jenkins’s prior inconsistent statements were enough to charge the prosecutors

             with knowledge of perjury, then the jury necessarily would have also known of the

             perjury since the prior inconsistent statements were discussed openly at trial.

                   Third, similarly, Petitioner can establish no actual prejudice. Again, his

             counsel was aware of and used the prior inconsistencies to cross-examine and

             impeach Jenkins at trial. Moreover, the Government adduced ample evidence of guilt

             other than just Jenkins’s testimony, including testimony by two other eyewitnesses

             (including the shooting victim), testimony about the Petitioner’s own inculpatory

             statements, and evidence of another robbery that Petitioner had committed. For all

             these reasons, there is no reasonable probability of a different result absent the

             allegedly contradictory testimony.




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                          (c)     Ground Eight

                   Petitioner’s Ground Eight–which alleges that the prosecutor improperly

             vouched for Jenkins’s credibility–also fails as a matter of law.

                   “Ordinarily, it is improper for a prosecutor to bolster a witness’s testimony by

             vouching for that witness’s credibility.” United States v. Bernal-Benitez, 594 F.3d

             1303, 1313 (11th Cir. 2010) (citing United States v. Hands, 184 F.3d 1322, 1334

             (11th Cir. 1999)). “The rule against bolstering does not, however, prevent the

             prosecutor from commenting on a witness’s credibility, which can be central to the

             government’s case.” Id. (citing United States v. Hernandez, 921 F.2d 1569, 1573

             (11th Cir. 1991)).

                   Here, Petitioner first quotes the prosecutor as stating:

                   The fact of the matter is I anticipate if you let me ask this question he’ll
                   testify that he’s actually scared of being called a snitch and that that was
                   something that he had to overcome to come testify today, which I
                   submit goes to his credibility in the face of, and rebuts the fact that he’s
                   just trying to curry favor when he has to actually overcome this fear of
                   being deemed a snitch when he goes back to Indiana.

             [Doc. 120 at 119-120].

                   A review of the transcript shows that Petitioner is simply factually wrong in

             his allegation that this constitutes improper vouching. The cited statements were



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             made in legal argument to the district judge at sidebar, outside the presence of the

             jury, and related solely to whether the judge should permit a certain line of

             questioning. [Doc. 120 at 119-120]. This is not improper vouching.

                   Petitioner then quotes a series of statements that the prosecutor did, in fact,

             make to the jury in closing argument about Jenkins’s credibility. [Motion, Doc. 134

             at 14-15]. The prosecutor’s arguments in this regard, however, were proper. The

             prosecutor argued in favor of Jenkins’s credibility based on objective facts in the

             record and inferences that the prosecutor suggested should be drawn from those facts.

             For example, the prosecutor argued based on Jenkins’s plea agreement obligation to

             tell the truth, the fact that he surrendered to the police and confessed, and other

             objective facts that Jenkins’s testimony was believable. [Doc. 121 at 31-35]. The

             prosecutor did not personally vouch for the witness, reference facts outside the

             record, or otherwise cross the line into improper argument.

                   C.     Petitioner’s Claims Of Ineffective Assistance of Counsel (Grounds
                          Four and Five) Are Meritless

                   Petitioner argues that his trial and appellate counsel were ineffective in various

             ways. As explained in detail below, Petitioner fails to meet his heavy burden to

             establish ineffective assistance and his claims must be denied.



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                          1. Legal Standard For Ineffective Assistance of Counsel

                   The standard for evaluating ineffective assistance of counsel claims was set

             forth in Strickland v. Washington, 466 U.S. 668 (1984). Green v. Nelson, 595 F.3d

             1245, 1239 (11th Cir. 2010). “An ineffective assistance claim has two components:

              A petitioner must show that counsel’s performance was deficient, and that the

             deficiency prejudiced the defense.” Wiggins v. Smith, 539 U.S. 510, 521 (2003)

             (citing Strickland, 466 U.S. at 687). To establish deficiency, a petitioner is required

             to establish that “counsel’s representation ‘fell below an objective standard of

             reasonableness.’” Wiggins, 539 U.S. at 521 (quoting Strickland, 466 U.S. at 688)).

             To establish prejudice, a petitioner must prove a “reasonable probability that, but for

             counsel’s unprofessional errors, the result of the proceeding would have been

             different.” Strickland, 466 U.S. at 694; Allen v. Secretary, Fla. Dep’t of Corr., 611

             F.3d 740, 750 (11th Cir. 2010). The court may “dispose of [the] ineffectiveness

             [claim] on either of its two grounds.” Atkins v. Singletary, 965 F. 2d 952, 959 (11th

             Cir. 1992); see Strickland, 466 U.S. at 697 (“[T]here is no reason for a court deciding

             an ineffective assistance claim . . . to address both components of the inquiry if the

             defendant makes an insufficient showing on one.”).




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                   The Strickland standard also applies to claims of ineffective assistance of

             counsel on appeal. Smith v. Robbins, 528 U.S. 259, 285 (2000); Temple v. Morton,

             No. 06-15061, 2007 WL 2141823, at *2 (11th Cir. July 27, 2007). To succeed on a

             claim of ineffective assistance of appellate counsel, as on a claim of ineffective

             assistance of trial counsel, a petitioner must overcome “a strong presumption that

             counsel’s conduct falls within the wide range of reasonable professional assistance.”

             Strickland, 466 U.S. at 689. “[A] court must not second-guess counsel’s strategy.”

             Chandler v. United States, 218 F.3d 1305, 1314 n.14 (11th Cir. 2000).

                          2. Analysis

                   None of Petitioner’s allegations raise a colorable claim of ineffective assistance

             of counsel. The record shows that trial counsel pursued various motions on

             Petitioner’s behalf, vigorously cross-examined Jenkins and other witnesses, and made

             strong arguments to the jury focusing on reasonable theories of defense.

                   Petitioner argues in Ground Five that his original counsel, Ms. Johnson, failed

             to file pre-trial motions that would have resulted in dismissal of the armed robbery

             charge (Count One) to a lesser offense. [Motion, Doc. 134 at 8-9]. Ms. Johnson

             allegedly advised Petitioner that such a motion would be futile, “because the ‘grand

             jury’ signed off on the indictment.” [Id.]. Counsel’s advice in this regard was not

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             ineffective, and if anything appears correct. Petitioner identifies no basis upon which

             he was entitled to have the district court dismiss Count One and replace it with a

             lesser offense. Counsel’s advice against filing this apparently frivolous motion was

             not ineffective.   Moreover, deciding what motions should be pursued is a

             quintessential tactical decision. Although his counsel did not file this particular

             motion, counsel did file and litigate numerous other motions including a motion to

             suppress evidence, a motion to sever counts, a motion to preclude the Rule 404(b)

             “other crimes” evidence, and a motion in limine aimed at restricting the testimony of

             a government expert. [Docs. 26, 27, 62, and 64]. Counsel’s tactical decision to not

             also include the frivolous motion requested by Defendant alongside these more viable

             motions is not subject to second guessing now.

                   Petitioner also argues in Ground Four that his trial counsel, Ms. Kearns, was

             ineffective “by failing to raise various substantive claims at my trial and on direct

             appeal.” Petitioner does not explain what substantive claims he believes should have

             been asserted but presumably they include the prosecutorial misconduct claims set

             out in Claims Seven and Eight. For the reasons explained in detail above, it was not

             ineffective for counsel to forego making these arguments.




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                   With respect to the improper vouching arguments set out in Claim Eight, the

             prosecutor’s statements were not improper. Therefore, there was no deficiency in

             counsel’s failure to object to these statements. And there is no prejudice, because

             Petitioner establishes no likelihood that an objection would have changed the result

             of his case.

                   With respect to Jenkins’s testimony, counsel had no basis to argue that this

             testimony was perjurious or that the Government was knowingly suborning perjury.

             As explained above, contradictions between a witness’s testimony and his prior

             statements do not in themselves suggest a Napue violation. Any objection that

             counsel made on this basis would have been futile, and counsel’s failure to object or

             raise this issue on appeal was neither deficient performance nor prejudicial.

                   Moreover, any decision as to how to use Jenkins’s prior inconsistent statements

             was inherently tactical. Petitioner suggests that counsel should have used them as a

             ground to object and to seek to exclude the testimony under Napue. But another tactic

             was to instead wait to cross-examine the witness with his prior inconsistent

             statements and thereby try to discredit the key Government witness. Counsel

             employed the latter tactic, and this was objectively reasonable. Petitioner may have

             been better off allowing the Government to center its case around Jenkins, who could

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             be so easily attacked with his prior inconsistencies and motives to lie. Petitioner may

             not have been as able to put the Government’s case on trial to the same extent had

             Jenkins been excluded, and had the Government been forced to rely on innocent third

             party victims and law enforcement officers. Using the inconsistencies in cross-

             examination was a reasonable strategy and, like other tactical decisions, will not be

             second-guessed.

                   Petitioner alleges that Ms. Kearns had “no real defense” planned “to challenge

             my co-defendants (Maurice Jenkins) direct testimony.” The Court has reviewed

             counsel’s cross-examination of Jenkins as well as counsel’s closing arguments and

             the Court rejects this argument.      The record shows that counsel employed a

             reasonably effective cross-examination and made viable arguments to the jury as to

             Jenkins’s credibility and other aspects of Petitioner’s defense. Counsel clearly

             established that Jenkins added key details to his story in between his post-arrest

             statements and his testimony at trial. Counsel established that the new details were

             the ones inculpatory to Petitioner, and counsel established facts from which the jury

             could infer Jenkins’s motivation to point a finger at Petitioner. Put simply, counsel

             engaged in a reasonable effort to impeach Jenkins. No one can say whether these

             efforts actually succeeded, because the jury could have entirely disbelieved Jenkins

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             and yet convicted Petitioner based on other evidence. But the record shows that

             counsel engaged in a reasonable effort and certainly put forward a “real defense.”

                   In any event, Petitioner cannot just complain as to the lack of a “real defense.”

             To obtain relief, he must show actual prejudice, that is, a reasonable likelihood that

             some alternative defense or strategy that counsel did not employ would have

             succeeded. Petitioner does not establish this.

                   Finally, Petitioner complains that Ms. Kearns made disparaging references to

             himself, referring to the Petitioner as a “bad kid,” and “a convicted felon.” [Motion,

             Doc. 134 at 7]. Viewed in context, this was also a reasonable tactical decision.

             Counsel’s strategy was not to contest the overwhelming evidence showing

             Petitioner’s prior criminal activity and intent to steal from the delivery truck, but

             rather to focus the jury on whether the Government could prove the specific elements

             of the much more serious crime of armed robbery. It was in this context that counsel

             referred to the largely uncontested damaging information about Petitioner and his

             background. For example, counsel in closing argued:

                  Again, these are hard decisions for you to make because you’re sitting here
                  thinking, Oh, yeah, wow, we’re going to find this kid who’s led a pretty
                  worthless life up until now not guilty, he was there to commit theft, he was
                  there for no good, that’s enough, that’s enough for me.



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                  No, that’s not the way the system works. They could have charged him
                  with theft, they could have charged him with a federal theft offense,
                  interstate shipment, theft of interstate shipment instead of robbery of
                  interstate shipment. The Government chose to charge robbery; they have
                  the burden of proving robbery.

             [Doc. 121 at 40-41].

                   This was a reasonable theory to argue in closing. The record does not suggest

             that counsel offered any personal views that Petitioner was a “bad kid” or “led a

             pretty worthless life.” Rather, counsel was simply acknowledging evidence in the

             record and certain inferences that the jury might have drawn about the Petitioner from

             that evidence. It likely would have been futile, and may have appeared disingenuous

             to the jury, to deny, for example, that Petitioner was a prior felon and that he intended

             to steal from the delivery truck. Thus, counsel quite reasonably conceded these

             facts–and acknowledged that those facts might lead the jury to dislike Petitioner–but

             then argued how none of this was relevant to the key legal question of whether or not

             Petitioner committed robbery. Thus, rather than “misguiding” the jury, [Doc. 134 at

             7], counsel’s argument was consistent with her reasonable trial strategy. Petitioner

             fails to show that counsel was ineffective on this or any other ground.




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             IV. Certificate of Appealability

                   According to Rule 11 of the Rules Governing Section 2255 Proceedings for the

             United States District Courts, a district court “must issue or deny a certificate of

             appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C.

             § 2253(c)(2), a certificate of appealability shall not issue unless “the applicant has

             made a substantial showing of the denial of a constitutional right.” A prisoner

             satisfies this standard by demonstrating that reasonable jurists would find that the

             district court’s assessment of his constitutional claims is debatable or wrong and that

             any dispositive procedural ruling by the district court is likewise debatable. See

             Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S. 473,

             484 (2000).

                   Petitioner has failed to make a substantial showing of the denial of a

             constitutional right.   As previously discussed, Petitioner’s claims lack merit.

             Accordingly, I RECOMMEND that a certificate of appealability be DENIED.

             V. Conclusion

                   Based on the foregoing, IT IS RECOMMENDED that Petitioner Marcus

             Sims’s motion to vacate sentence [Doc. 134] be DENIED.




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                   IT IS FURTHER RECOMMENDED that a certificate of appealability be

             DENIED.

                   The Clerk is DIRECTED to terminate the referral to the undersigned

             magistrate judge.

                   IT IS SO RECOMMENDED this 27th day of March, 2013.


                                                __________________________________
                                                JUSTIN S. ANAND
                                                UNITED STATES MAGISTRATE JUDGE




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